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 5   Attorney for Defendant
     SARAH RENEE GREER
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 8
                            IN THE UNITED STATED DISTRICT COURT
 9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                       )   Case No.: 1:09-cr-00388 LJO
12                                                   )
                    Plaintiff,                       )   STIPULATION TO CONTINUE
13                                                   )   STATUS CONFERENCE
          vs.                                        )
14   SARAH RENEE TODD and                            )   Date: July 7, 2010
     BRIAN STRETCH,                                  )   Time: 8:45 am
15                                                   )   Honorable Lawrence J. O’Neill
                    Defendants.                      )
16
            It is hereby stipulated by and between the parties hereto, through their respective
17
     attorneys of record, as follows:
18
            A status conference in this matter is currently set for July 9, 2010 at 8:45 am.
19
            By agreement of the parties, it is requested that the status conference be continued until
20
     August 6, 2010 at 9:00 am.
21
            The reason for this request is that examination of the discovery by Mr. Stretch’s counsel
22
     was delayed due to a problem in the formatting of the computer disk and a replacement set of
23
     discovery had to be produced. Consequently, she is still reviewing the materials to determine if
24
     discovery is complete. In addition, counsel for Ms. Todd has received a plea offer from the
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     government and he and government counsel are still having discussions aimed at reaching a final
26
     agreement, but additional time is necessary to accomplish this task.
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 1          It is further stipulated that the time between July 9, 2010 and August 6, 2010 shall be
 2   excluded under the Speedy Trial Act, Title 18, United States Code, Sections 3161(h)(7)(A) and
 3   (h)(7)(B)(iv), in that the ends of justice are served by such exclusion, to allow Mr. Stretch to
 4   complete the review of discovery and for Ms. Todd to complete discussions with the government
 5   and reach a plea agreement. Based on the above, it is respectfully requested that the status
 6   conference be continued as set forth above.
 7   Dated: July 7, 2010                            Respectfully submitted,
 8

 9                                                  /s/ Carl M. Faller_______
                                                    CARL M. FALLER
10
                                                    Attorney for Defendant
11                                                  SARAH RENEE TODD

12                                                  /s/ Melody M. Walcott____
                                                    MELODY M. WALCOTT
13                                                  Attorney for Defendant
                                                    BRIAN STRETCH
14

15                                                  BENJAMIN B. WAGNER
                                                    United States Attorney
16

17                                           By     /s/ Mark J. McKeon____
                                                    MARK J. McKEON
18
                                                    Assistant U.S. Attorney
19                                                  Attorney for the United States

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            ORDER:
21
            Based upon the stipulation of the parties and good cause appearing, it is hereby
22

23   ORDERED that the status conference currently set for July 9, 2010 at

24   8:45 am, be continued to August 6, 2010 at 8:45 am.
25          It is further ORDERED that the time between July 9, 2010 and August 6, 2010 shall be
26
     excluded under the Speedy Trial Act, Title 18, United States Code, Sections 3161(h)(7)(A) and
27
     (h)(7)(B)(iv), in that the ends of justice are served by such exclusion, to allow for further
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     settlement negotiations on the part of counsel for Ms. Todd and government and for further
 1

 2   review of discovery on the part of counsel for Mr. Stretch.

 3   DATED: July 8, 2010
                                                          /s/ Lawrence J. O’Neill_______
 4                                                        LAWRENCE J. O’NEILL
                                                          United States District Judge
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